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                                             Re:1Gaia/Goode: Status



      Re: Gaia/Goode: Status

              yanaroslaw <valerie@yanaroslaw.com>
               Wed, 03 Mar 2021 11:32:14 PM -0600

            To "Dingerson, Daniel A." <ddingerson@dglaw.com>
            Cc "yanaroslaw@gmail.com" <yanaroslaw@gmail.com>




        Tags 



    Daniel,

    I have conferred at length with the clients and they consent to dismissing the defamation claims against
    the Gaia individual defendants without prejudice, this would be the libel and slander per se claims.

    With regard to the request for extension of deadline to comply with the revival statute, however, they
    are not inclined to grant the extension. Mr. Goode and GES have engaged on multiple occasions to
    amend their claims and focus the issues at hand and, in response, all Gaia defendants are still opposing
    all claims. To extend any deadline for counterclaims at this point would prolong an already protracted
    litigation and unduly prejudice plaintiffs, especially since all Gaia defendants have been aware of this suit
    for almost a year now.

    Please let me know if you would like to discuss further, I can be available for a call late tomorrow
    afternoon or any time Friday.

    Best,
    Val


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